 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **




                                                      Electronically Filed
                                                      Supreme Court
                                                      SCWC-XX-XXXXXXX
                                                      20-AUG-2024
                                                      09:23 AM
                                                      Dkt. 17 OP
            IN THE SUPREME COURT OF THE STATE OF HAWAIʻI

                              ---o0o---


                          STATE OF HAWAIʻI,
                   Respondent/Plaintiff-Appellee,

                                 vs.

                      CHARLES TUNG MING YUEN,
                  Petitioner/Defendant-Appellant.


                           SCWC-XX-XXXXXXX

         CERTIORARI TO THE INTERMEDIATE COURT OF APPEALS
            (CAAP-XX-XXXXXXX; CASE NO. 1DTA-18-03510]

                           AUGUST 20, 2024

                McKENNA, EDDINS, AND DEVENS, JJ.,
 AND RECKTENWALD, C.J., DISSENTING, WITH WHOM GINOZA, J., JOINS


                OPINION OF THE COURT BY McKENNA, J.


                     I.   Introduction and Summary

     This case arises out of a motor vehicle collision (“MVC”)

that occurred in the City &amp; County of Honolulu (“City”), 50 feet

from the entrance to the O’Malley Gate of Hickam Air Force Base

(“HAFB”).   As he approached the gate, defendant Charles Yuen

(“Yuen”) allegedly rear-ended and caused significant bumper
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



damage to another car.       Yuen’s car apparently had no visible

damage.

       Military police or personnel (“MPs”) apparently came to the

scene just outside the military base and identified Yuen as the

responsible driver.       They apparently then seized Yuen and

subjected him to a preliminary screening to see if he was

intoxicated, including standard field sobriety tests (“SFSTs”)

and/or a preliminary alcohol screening (“PAS”). It appears they

then called the Honolulu Police Department (“HPD”) to report a

MVC and a “DUI at the gate” and detained Yuen until HPD arrived.

At some point, HPD officers responded and the MPs identified

Yuen as the driver to HPD.        HPD then administered their own

SFSTs and PAS.      Thereafter, Yuen was arrested and charged with

OVUII in violation of Hawaiʻi Revised Statutes (“HRS”) § 291E-

61(a)(1) (2007). 1




1      HRS § 291E-61(a)(1) provides:

         (a) A person commits the offense of operating a vehicle
             under the influence of an intoxicant if the person operates
             or assumes actual physical control of a vehicle:

             (1) While under the influence of alcohol in an amount
                 sufficient to impair the person’s normal mental
                 faculties or ability to care for the person and guard
                 against casualty. . . .

      Yuen was also charged with Inattention to Driving under HRS § 291-12
(2007 &amp; Supps. 2008 &amp; 2016). The district court dismissed this charge
indicating “insufficient facts were established at trial to meet the elements
of that charge.”


                                       2
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



     As trial was starting, Yuen’s trial counsel sought to

exclude evidence from the MPs based on the Posse Comitatus Act

(“PCA”), 18 U.S.C. § 1385 (1994).     The PCA generally prohibits

use of the military to conduct civilian law enforcement

activities.    In State v. Pattioay, 78 Hawaiʻi 455, 896 P.2d 911
(1995), we held that evidence obtained in violation of the PCA

must be suppressed.    78 Hawaiʻi at 468-69, 896 P.2d at 924-25.

In addition, the “fruit of the poisonous tree” doctrine requires

exclusion of evidence obtained as a result of an illegal seizure

or search.    State v. Weldon, 144 Hawaiʻi 522, 534, 445 P.3d 103,

115 (2019) (illegal seizure); State v. Knight, 63 Haw. 90, 93,

621 P.2d 370, 374 (1980) (per curiam) (illegal search); see

also, State v. Won, 137 Hawaiʻi 330, 338, 372 P.3d 1065, 1073

(2015) (holding that a breath test is a search subject to the

constitutional constraints of Article I, Section 7 of the Hawaiʻi

Constitution).

     Yuen’s trial counsel did not, however, file a motion to or

orally move to suppress all evidence against Yuen based on an

alleged PCA violation.    If a motion to suppress had been made,

more evidence could have been developed.     The MPs could have

been subpoenaed to testify.    Yuen himself would have been able

to testify regarding the actions and statements of the MPs

without waiving his right against self-incrimination; his

                                  3
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



testimony also could not have been used against him at trial.

State v. Chang, 144 Hawaiʻi 535, 545, 445 P.3d 116, 126 (2019).

       Even without a motion to suppress, the District Court of

the First Circuit of the State of Hawaiʻi (“district court” or

“court”) 2 recognized and expressed concerns based on the PCA.

The district court generally excluded or sua sponte struck most

of the evidence regarding the MPs’ actions and statements.

       Testimony was received, however, from the State’s three HPD

trial witnesses.      They testified they were called to respond to

the scene of an MVC and “DUI at the gate.”          Upon HPD’s arrival,

Yuen was initially sitting in the rear vehicle.          Based on signs

of intoxication, an HPD officer administered SFSTs and Yuen was

arrested.     Yuen called no witnesses.       The district court

adjudicated Yuen guilty of OVUII.

       The Intermediate Court of Appeals (“ICA”) affirmed.

Relevant here, the ICA deemed the record insufficient to

establish ineffective assistance of counsel based on trial

counsel’s failure to file a motion to suppress based on the PCA.

The ICA further determined there was substantial evidence to

support Yuen’s conviction.

       On certiorari, Yuen asserts the ICA erred:       (1) by not

holding Yuen’s trial counsel ineffective for failing to file a


2      The Honorable John A. Montalbano presided.

                                       4
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



motion to suppress based on Yuen’s right against unreasonable

searches and seizures under Article I, Section 7 of the Hawaiʻi

Constitution in correlation with the PCA violation; and (2) by

holding there was substantial evidence to support Yuen’s

conviction.

       We hold Yuen’s trial counsel’s failure to file a motion to

suppress constituted ineffective assistance but that there was

substantial evidence to support Yuen’s conviction.

       “Ineffective assistance of counsel” exists when (1) there

were specific errors or omissions reflecting counsel’s lack of

skill, judgment, or diligence; and (2) such errors or omissions

resulted in either the withdrawal or substantial impairment of a

potentially meritorious defense.       To satisfy the second prong,

the defendant only needs to show a possible impairment, rather

than a probable impairment, of a potentially meritorious

defense; a defendant need not prove actual prejudice.       State v.

Wakisaka, 102 Hawaiʻi 504, 514, 78 P.3d 317, 327 (2003) (cleaned

up).    In some cases, the ineffective assistance of counsel may

be so obvious from the record that a Hawaiʻi Rules of Penal

Procedure (“HRPP”) Rule 40 (eff. 2006) post-conviction

proceeding, through which a conviction can also be set aside

based on ineffective assistance of counsel, serves no purpose

except to delay the inevitable and expend resources


                                   5
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



unnecessarily.   State v. Silva, 75 Hawaiʻi 419, 438-39, 864 P.2d

583, 592 (1993).

     In this case, trial counsel’s ineffective assistance of

counsel is obvious from the record.       Although defense counsel

orally expressed concerns regarding the admission of evidence

from the MPs regarding their alleged seizure, investigation, and

search of Yuen, he did not file a motion to suppress to

establish a PCA violation and ban its alleged “fruit,” the

testimony of HPD officers which allegedly followed the alleged

illegal seizure and/or search by the MPs.       Ineffective

assistance only requires possible impairment of a potentially

meritorious defense.    If a motion had been filed, additional

evidence could have been adduced regarding a possible PCA

violation by the MPs.    If a PCA violation had been established,

evidence obtained as its fruit could have been subject to

suppression.   Hence, trial counsel’s failure to file a motion to

suppress constituted ineffective assistance.       We therefore

disagree with the ICA that the record was insufficiently

developed to establish ineffective assistance.

     Because we vacate the conviction and remand based on the

first issue on certiorari, we must also address the second issue

alleging insufficient evidence.       See State v. Davis, 133 Hawaiʻi

102, 120, 324 P.3d 912, 930 (2014) (holding that the double


                                  6
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



jeopardy clause of Article I, Section 10 of the Hawaiʻi

Constitution requires an appellate court to address a

defendant’s express claim of insufficiency of the evidence

before remanding).   On this issue, we agree with the ICA that

there was substantial evidence to support Yuen’s conviction.

Therefore, Yuen is not entitled to a dismissal of the OVUII

charge on appeal.

     Hence, we vacate Yuen’s OVUII conviction and remand to the

district court for further proceedings consistent with this

opinion.

                             II.   Background

A.   Factual background

     On October 25, 2018, a MVC occurred in an area

approximately 50 feet in front of the north O’Malley Gate of

HAFB in the City and County of Honolulu, Hawaiʻi.     The collision

involved two vehicles.

     As no motion to suppress based on the alleged PCA violation

was filed, the record does not contain sworn testimony regarding

what happened before HPD arrived and the details of the

interaction the MPs had with Yuen.     The factual background

provided regarding the time period before HPD’s arrival is

therefore based on representations on the record from the

State’s deputy prosecuting attorney and Yuen’s trial attorney.


                                   7
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



       The MVC had occurred as the vehicles were approaching

military property.      MPs then came out to the scene outside the

military base.     They identified Yuen as the Unit 1 (rear)

vehicle driver.     MPs then apparently seized Yuen and subjected

him to SFSTs.     They apparently did so without Miranda warnings

regarding the medical rule-out questions. 3         MPs also apparently

administered a PAS test on Yuen.          The MPs apparently then

continued Yuen’s seizure and called HPD to report a MVC and “a

possible DUI outside the gate.”

       The MVC occurred and the MPs apparently seized Yuen on

City, not military, property.        According to HPD officers, they

were called to respond to a MVC and possible DUI.            Upon arrival,

Yuen was the sole passenger seated in the Unit 1 (rear) vehicle.

An adult male was identified as the driver of the Unit 2 (front)

vehicle, which also contained two children ages eleven and two

years old.

       After observing symptoms of intoxication, an HPD officer

conducted SFSTs on Yuen.       After the tests, Yuen was arrested for

OVUII.




3     In State v. Skapinok, 151 Hawaiʻi 170, 510 P.3d 599 (2022), we held that
medical rule-out questions are “interrogation” when a defendant is in
custody. It appears a motion to suppress might also have developed further
evidence regarding the “custody” issue based on what the MP said to Yuen.
According to Yuen’s trial counsel, the MPs had taken Yuen “in custody.”


                                      8
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



B.     District court proceedings

       On October 26, 2018, the State filed a complaint charging

Yuen with OVUII.      The court conducted Yuen’s trial on October 8,

2019 and December 11, 2019.

       1.    Pre-trial issues

       Before trial, Yuen’s trial counsel 4 raised concerns about

the admissibility of State evidence based on the PCA.            Trial

counsel anticipated that, during trial, the State would call the

MPs who detained Yuen and conducted their own SFSTs and PAS

before HPD officers arrived.         Trial counsel asserted the court

should determine the admissibility of the evidence regarding the

MPs.

       The State responded that the only evidence from the MPs it

intended to proffer was their identification of Yuen as the

driver of the vehicle. 5      After confirming the State would not be

proffering evidence of the MPs’ SFSTs or statements

incriminating Yuen, the district court commenced trial.




4      Yuen was represented at trial by attorney Barry Sooalo.

5     The State did not end up calling any of the MPs because it was
apparently unable to “secure” them as witnesses. It is unclear whether they
were subpoenaed for the second trial date. But it is clear the State did not
subpoena them for the first day of trial.

                                       9
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



       2.    Officer Peter’s testimony

       The State’s first witness was Officer Jody Peter, who

prepared the MVC report.        On direct examination, Officer Peter

testified as follows.

       In the evening of October 25, 2018, she was sent to the

scene of a MVC approximately 50 feet north of the gate going

into HAFB.     Upon her arrival at the scene, Yuen was sitting in

the rear vehicle.      The vehicle in front had an adult male and

two children.

                   A. When I arrived on scene, I observed two vehicles
             in the front of me already in a parked position. The two
             vehicles were the ones that were involved in the motor
             vehicle collision. I was -- I was approached by military
             personnel and he stated that there was a motor vehicle
             collision and that they –- he already identified who the
             driver of Unit 1 vehicle was.
                   Q. Okay. And who did he identify as the Unit 1
             driver?
                   A. Charles Yuen
                   Q. Okay. And when you approached the vehicles, were
             there -- was the driver in the vehicle?
                   A. He [Yuen] was sitt[ing] in -- in the vehicle at
             the time.

       The district court sua sponte expressed concerns that the

testimony regarding what the MP 6 told her about Yuen being the

responsible driver violated the PCA and struck that testimony.

       Officer Peter noticed damage to the rear of the bumper of

car in front:      “the rear of the bumper was smashed, was bent

in.”    While she was preparing the MVC report, she saw Yuen



6     Officer Laganse’s later testimony referred to the “military personnel”
as MPs.

                                      10
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



standing around.      She smelled alcohol on Yuen’s breath and

observed him swaying, but he was otherwise cooperative with HPD

officers.

       On cross-examination, Officer Peter testified she was

certain that the physical area of her investigation was City and

not military property.

       3.     Officer Laganse’s testimony

       The State’s next witness was Officer Jennifer Laganse, the

officer who administered the SFSTs 7 and made the arrest.             She

testified that HPD responded because MPs said they had a DUI at

the gate; upon objection from Yuen’s trial counsel, the court

struck this initial testimony.         But Officer Laganse later

testified on cross-examination that she had been apprised Yuen

was the driver and that she had been instructed to conduct

SFSTs.      She also testified that she had been apprised it might

be a possible DUI and that she was then instructed to do the

SFST to determine that. 8



7     At the December 11, 2019 trial continuance, the court indicated it
would not consider testimony by Officer Laganse as an expert regarding Yuen’s
possible intoxication, the HGN test, and her conclusions of law relating to
Yuen’s possible intoxication. However, the court considered Officer
Laganse’s testimony as a layperson, admitting her observations of Yuen during
the SFSTs and interactions with him during the MVC investigation. This trial
took place before State v. Jones, 148 Hawaiʻi 152, 468 P.3d 166 (2020)
(prospectively holding that for trials occurring after June 30, 2020, police
officers may no longer testify, whether in a lay or expert capacity, that a
driver appeared “intoxicated”). 148 Hawaiʻi at 176, 468 P.3d at 190.

8      Who said what could have been clarified in a motion to suppress.

                                      11
    ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



       Officer Laganse also testified as follows:

                   Q. Okay. And when you arrived, where were the
             vehicles that you were called to investigate?
                   A. They were in the left-most lane, parked to the
             side.
                   Q. And is this prior to the Hickam gate?
                   A. Yes, prior to the Hickam gate. Yes, ma’am.
                   Q. Is that area open to the general public –-
                   A. Yes, ma’am.
                   Q. -- at all times? Okay. Is it a public way,
             street, road, or highway?
                   A. Yes, ma’am.
                   Q. And in the City and County of Honolulu, [S]tate of
             Hawaii [Hawaiʻi]?
                   A. Yes, ma’am.
                   Q. Okay. When you arrived on scene, did you make any
             observations initially?
                   A. I did observe the two vehicles with their hazard
             lights on.
                   . . . .
                   Q. Okay. Did you make any observations of Mr. Yuen?
                   A. When I was speaking to Mr. Yuen, his -- his eyes
             appeared to be red and watery and -- well, as he continued
             to speak to me, I could smell alcohol coming from his
             breath. . . . When I was initially talking with him, at one
             point when he was off to the side, he kind of fell into the
             bushes.
                   Q. Is there anything that may have caused him to fall
             into the bushes?
                   A. No. And -- and then Mr. Yuen was also slurring
             some of his words when he was talking to me.
                   Q. So based on these observations, did you perform a
             standardized field sobriety test on the defendant?
                   A. Yes, I did, ma’am.

       When she began to administer a SFST on Yuen, she noticed

“an alcoholic-type beverage” odor when Yuen was speaking to her.

When she conducted the walk and turn test, Yuen missed steps and

failed to follow instructions.         Yuen was also unable to maintain

his balance in a position of instruction. 9          Yuen was swaying and

could not keep his balance during the one-leg stand test.


9     The “position of instruction” is where one stands with the “right foot
in front of left, heel to toe, arms at [one’s] side.”


                                      12
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



              [He] actually put his foot down [a] couple times, and then
              he would sway left and right. And I had to instruct him
              multiple times, actually, to look down at his foot during
              the test, because he had to count. He’d count, but look --
              be looking upward, which actually helps the person maintain
              their balance. So I instructed him two times to look down
              at his foot and continue counting. And when he did look
              down, I noticed that he would hop to maintain the balance.

Yuen had “red, watery eyes[,] slurring words[,] and alcohol

emitting from his breath.”

        On cross-examination, Officer Laganse testified that after

arriving at the scene, she was apprised by Officer Peter about

what happened, and that Officer Peter identified Yuen as the

driver.

        4.    Officer Tablit’s testimony

        As its last witness, the State called Officer Marie Tablit,

the officer instructed to administer the PAS test 10 and transport

Yuen to the station.        Upon arriving at the scene, Officer Tablit

observed that Yuen had “glassy, watery eyes.”             Officer Tablit

made no further observations of Yuen during transport.

        After Officer Tablit’s testimony, the court continued trial

until December 11, 2019.




10    The court struck Officer Tablit’s testimony regarding the result of the
PAS test for lack of foundation.


                                       13
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



        5.    December 11, 2019 trial continuance

        At the December 11, 2019 trial continuance, the State

rested its case.       Yuen then moved for a judgment of acquittal.

The court denied the motion.          Yuen did not call any witnesses.

        After closing arguments, the district court adjudicated

Yuen guilty of OVUII based on the testimony of the HPD officers.

The district court imposed fines and fees and ordered Yuen to

attend a substance abuse and rehabilitation program. 11

C.      ICA proceedings

        1.    Yuen’s opening brief

        On April 5, 2022, Yuen’s new counsel filed an appeal of the

district court’s judgment with the ICA.            In relevant part, Yuen

raised the following issues:          (1) Yuen’s trial counsel provided

ineffective assistance of counsel because he failed to file a

motion to suppress based on a violation of the PCA, the Fourth

Amendment of the U.S. Constitution, and/or Article I, Section 7

of the Hawaiʻi Constitution; and (2) there was insufficient

evidence to establish Yuen’s guilt beyond a reasonable doubt. 12

        Yuen first argued that his trial counsel was ineffective

for failing to file a motion to suppress evidence.                The MPs were




11    The district court also ordered a restitution investigation. On
November 12, 2021, it conducted a hearing and did not order any restitution.

12      Yuen also raised issues no longer raised on certiorari.

                                       14
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



within City jurisdiction while conducting their OVUII

investigation.   Because the HPD officers’ investigation resulted

from the MPs’ initial seizure of Yuen, Yuen asserted the HPD

investigation was “fruit of the poisonous tree” of the initial

illegality.

     Yuen also argued that his trial counsel was ineffective for

failing to file a motion to suppress based upon a violation of

the PCA.   Yuen cited Pattioay.

     Lastly, Yuen asserted substantial evidence did not exist to

support his conviction because the State failed to prove he was

the operator of the vehicle.    No witnesses testified at trial

they saw Yuen operating the rear vehicle.     Yuen posited that his

case is distinguishable from State v. Brown, 97 Hawaiʻi 323, 37

P.3d 572 (App. 2001).   There, the ICA held “a person may be

proven to be a driver based on reasonable inferences drawn from

circumstantial evidence.”   97 Hawaiʻi at 333, 37 P.3d at 582.

Yuen asserted circumstantial evidence was nonexistent in his

case.   Yuen contended the officers only testified that he was in

the Unit 1 vehicle, not that he was the driver.      He additionally

argued that the fact he provided his license and paperwork only

confirmed he followed police directives, not that he was

driving.   Yuen argued there was insufficient evidence for his




                                  15
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



conviction and asked the court to reverse his conviction and

remand for a new trial.

     2.   State’s answering brief

     The State asserted Yuen’s trial counsel was not ineffective

for failing to file a motion to suppress.     Citing Pattioay, 78

Hawaiʻi at 464, 896 P.2d at 920, the State argued that “the PCA

prohibits military participation in activities designed to

execute civilian laws,” and the evidence adduced at trial only

established that HPD responded to a request to respond to a MVC.

The State also maintained the military cannot be expected to

ignore a MVC that might potentially obstruct a major entrance to

a military base.

     The State also argued Yuen had the burden of establishing

that the evidence was unlawfully secured, and his constitutional

rights were violated by the challenged search and seizure.       The

State posited that even if the MPs conducted an OVUII

investigation before HPD arrived, HPD conducted its own

independent investigation, and Yuen was arrested based on the

HPD officers’ investigation.    Furthermore, as none of the

evidence from the MPs’ investigation was used at trial, there

was no basis to file a motion to suppress; Yuen’s trial counsel

was therefore not ineffective.




                                 16
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



       As to the sufficiency issue, the State contended there was

sufficient evidence to support the district court’s finding that

Yuen drove his vehicle while intoxicated.     Officer Peter had

testified that Yuen was still sitting in his vehicle when she

approached the scene.    The State argued there was sufficient

circumstantial evidence to support the district court’s finding

that Yuen had operated his vehicle while intoxicated.

       3.   Yuen’s reply brief

       In his reply brief, Yuen asserted that because the MPs went

outside their jurisdiction to conduct the OVUII investigation,

held Yuen until HPD officers arrived, and because Yuen was not a

member of the military, the military officers’ investigation was

“only in furtherance of” the HPD investigation.      Yuen argued

that considering the factual scenario and trial counsel’s

awareness of the PCA, there was no reason for trial counsel not

to seek suppression of all evidence based on a violation of the

PCA.    Furthermore, Yuen insisted that given the significant

involvement of the MPs in Yuen’s civilian investigation, the

State was required to prove that the MPs had a purpose

independent of their involvement with HPD’s investigation in

order to avoid a violation of the PCA, and without such proof,

the evidence of HPD’s investigation should have been suppressed

because it was inextricably linked to the MPs’ investigation.


                                 17
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



       As to his second argument, Yuen asserted that although

Officer Peter testified that Yuen was sitting in his car, she

did not testify he was seated in the driver’s seat.      He

additionally argued that the vehicles were already pulled over

on the side of the road when Officer Peter arrived.      Yuen

posited that without evidence about what seat he was in, or any

other evidence that he had control of the vehicle, such as the

possession of keys, the State failed to provide circumstantial

evidence by which a reasonable inference could be made that Yuen

was the driver.

       4.   ICA’s summary disposition order

       On September 22, 2023, the ICA issued its summary

disposition order.    State v. Yuen, No. CAAP-XX-XXXXXXX, 2023 WL

6185286 (Haw. App. Sept. 22, 2023) (SDO).     The ICA noted that

this court has acknowledged that “direct involvement of military

personnel in civilian law enforcement is generally prohibited.”

Yuen, 2023 WL 6185286, at *2 (citing Pattioay, 78 Hawaiʻi at 460,

896 P.2d at 916).    The ICA indicated the Ninth Circuit has

provided a three-part test to determine whether military

involvement in civilian law enforcement is an exception to the

PCA:    “[t]he involvement must not constitute the exercise of

regulatory, proscriptive, or compulsory military power, must not

amount to direct active involvement in the execution of the


                                 18
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



laws, and must not pervade the activities of civilian

authorities.”    Id. (citing United States v. Khan, 35 F.3d 426,

431 (9th Cir. 1994) (cleaned up)).

      The ICA then discussed Pattioay.       Yuen, 2023 WL 6185286, at

*3.   In Pattioay, a military police officer who acted as an

undercover agent in the investigation, an army Criminal

Investigation Department (“CID”) special agent, and an HPD

officer testified.       Id. (citing 78 Hawaiʻi at 456-57, 896 P.2d at

912-13).   The trial court had found there was no military

function, and the matter was clearly within the scope of

civilian law enforcement responsibility.        Id. (citing Pattioay,

78 Hawaiʻi at 459, 896 P.2d at 915). On appeal, this court

concluded the defendants met their burden of demonstrating the

joint operation violated the PCA.        Id. (citing Pattioay, 78

Hawaiʻi at 466, 896 P.2d at 922). Thus, suppression of the

evidence was warranted.

      The ICA noted that, here, the district court struck

testimony that MPs informed HPD officers that Yuen was the

driver of the Unit 1 vehicle out of concern of a potential PCA

violation.   Id.    Furthermore, neither the State nor Yuen’s

attorney attempted to introduce the MPs’ reported SFSTs or PAS

into evidence.     Id.    The ICA concluded the record on appeal was

therefore insufficient to establish a violation of the PCA.         Id.

                                    19
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



      The ICA also indicated, however, that Yuen alleged facts

which, if proven, might entitle him to relief and that his

claims of ineffective assistance of counsel for failure to file

a motion to suppress based on a violation of the PCA, the Fourth

Amendment, and/or Article I, Section 7 were not patently

frivolous and without trace of support in the record.      Id.
Hawaiʻi Rules of Appellate Procedure (“HRAP”) Rule 28(a) (eff.

2022) requires, however, that “[i]f a brief raises ineffective

assistance of counsel as a point of error, the appellant shall

serve a copy of the brief on the attorney alleged to have been

ineffective.”   Yuen, 2023 WL 6185286, at *4 n.5 (citing HRAP

Rule 28(a) (2016)).   Because trial counsel had not been given a

chance to respond to Yuen’s ineffectiveness allegations, the ICA

said it could not conclude that the failure to file a motion to

suppress constituted an error or omission which resulted in the

withdrawal of a potentially meritorious defense.      Yuen, 2023 WL

6185286, at *3.   Hence, instead of vacating Yuen’s conviction

based on ineffective assistance of counsel, the ICA affirmed it

without prejudice to Yuen filing a HRPP Rule 40 petition so that

a factual record could be developed.     Yuen, 2023 WL 6185286, at

*4.

      Lastly, the ICA considered whether there was substantial

evidence that Yuen was the operator of the vehicle.      Id.     The


                                 20
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



ICA noted, “A person can be proven to be the driver of a vehicle

based on ‘reasonable inferences drawn from circumstantial

evidence.’”      Id. (citing Brown, 97 Hawaiʻi at 333, 37 P.3d at

582).   Officer Peter testified Yuen was the sole occupant of

Unit 1, while there was a driver and two small children in Unit

2.   Id.   She also testified to damage to the rear bumper of Unit

2, but no damage to Unit 1.       Id.     Officer Laganse testified she

interacted with Yuen and that Officer Peter identified Yuen as a

driver.    Id.    The ICA concluded there was sufficient

circumstantial evidence to support a finding that Yuen operated

Unit 1.    Id.    Accordingly, the ICA affirmed the OVUII conviction

without prejudice to Yuen filing a HRPP Rule 40 petition on his

ineffective assistance of counsel claim.          Id.

D.   Certiorari proceedings

     Yuen presents two questions on certiorari:

            1. Whether the ICA gravely erred in holding that Yuen’s
            trial counsel was not ineffective for failing to file a
            motion to suppress?

            2. Whether the ICA gravely erred in holding that there was
            substantial evidence to support Yuen’s conviction?

                        III. Standards of Review

A.   Constitutional issues

     “Questions of constitutional law are reviewed under the

right/wrong standard.”      State v. Borge, 152 Hawaiʻi 458, 464, 526

P.3d 435, 441 (2023) (citation omitted).


                                     21
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



B.   Ineffective assistance of counsel

                When reviewing a claim of ineffective assistance of
          counsel, [the appellate court] looks at whether defense
          counsel’s assistance was within the range of competence
          demanded of attorneys in criminal cases. The defendant has
          the burden of establishing ineffective assistance of
          counsel and must meet the following two-part test: 1) that
          there were specific errors or omissions reflecting
          counsel’s lack of skill, judgment, or diligence; and 2)
          that such errors or omissions resulted in either the
          withdrawal or substantial impairment of a potentially
          meritorious defense. To satisfy this second prong, the
          defendant needs to show a possible impairment, rather than
          a probable impairment, of a potentially meritorious
          defense. A defendant need not prove actual prejudice.

Wakisaka, 102 Hawaiʻi at 513-14, 78 P.3d at 326-27 (internal

quotation marks, citations, and footnote omitted).

C.   Sufficiency of the evidence

     The appellate court reviews the sufficiency of evidence on

appeal as follows:

          [E]vidence adduced in the trial court must be considered in
          the strongest light for the prosecution when the appellate
          court passes on the legal sufficiency of such evidence to
          support a conviction; the same standard applies whether the
          case was before a judge or jury. The test on appeal is not
          whether guilt is established beyond a reasonable doubt, but
          whether there was substantial evidence to support the
          conclusion of the trier of fact.

State v. Richie, 88 Hawaiʻi 19, 33, 960 P.2d 1227, 1241 (1998)

(cleaned up).   “‘Substantial evidence’ as to every material

element of the offense charged is credible evidence which is of

sufficient quality and probative value to enable a person of

reasonable caution to support a conclusion.”         Id. (cleaned up).




                                   22
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



                           IV.   Discussion

A.   Ineffective assistance of counsel

     1.     Article I, Section 7 of the Hawaiʻi Constitution

     Article I, Section 7 of the Hawaiʻi Constitution protects

“the right of the people to be secure in their persons, houses,

papers and effects against unreasonable searches, seizures and

invasions of privacy. . . .”     Haw. Const. Art. I, § 7 (1978).

We have held that the stop of a vehicle for an investigatory

purpose constitutes a seizure within the meaning of the

constitutional protection against unreasonable searches and

seizures.    State v. Heapy, 113 Hawaiʻi 283, 290, 151 P.3d 764,

771 (2007) (cleaned up).

     The “fruit of the poisonous tree” doctrine prohibits the

use of evidence at trial which comes to light as a result of the

exploitation of a previous illegal act of the police.      State v.

Trinque, 140 Hawaiʻi 269, 281, 400 P.3d 470, 482 (2017)

(citations omitted)).    Under the fruit of the poisonous tree

doctrine, admissibility is determined by ascertaining whether

the evidence objected to as being “fruit” was discovered or

became known by the exploitation of the prior illegality or by

other means sufficiently distinguished as to purge the later

evidence of the initial taint.     Trinque, 140 Hawaiʻi at 282, 400

P.3d at 483.

                                  23
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



     To prevent evidence from being suppressed under this

doctrine, the State must show that its evidence is untainted by

the government’s purportedly unlawful act.          See id.    The State

may do this by either showing that the police did not exploit

the illegal activity to gather evidence, or by demonstrating

that there is no causal link between the illegal activity and

the evidence gathered.      See Trinque, 140 Hawaiʻi at 281, 400 P.3d

at 482.

     Yuen argues that the MPs’ actions resulted in his continued

detention until HPD officers arrived, and the MPs’ statements

identifying him as the driver of Unit 1 resulted in HPD officers

conducting their own investigation based on a suspicion that

Yuen was OVUII.

     2.   Posse Comitatus Act

     Yuen’s Article I, Section 7 claim is tied to his PCA claim.

The PCA is codified at 18 U.S.C. § 1385, which provides:

          § 1385. Use of Army, Navy, Marine Corps, Air Force, and Space
          Force as posse comitatus

                  Whoever, except in cases and under circumstances
                  expressly authorized by the Constitution or Act of
                  Congress, willfully uses any part of the Army, the
                  Navy, the Marine Corps, the Air Force, or the Space
                  Force as a posse comitatus or otherwise to execute
                  the laws shall be fined under this title or
                  imprisoned not more than two years, or both.

Per Black’s Law Dictionary (11th ed. 2019), “posse comitatus” is

defined as “[a] group of citizens who are called together to



                                     24
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



help the sheriff keep the peace or conduct rescue operations. —

Often shortened to posse.”

       As can be seen, the plain language of the PCA imposes

criminal penalties on a military violator.      It appears, however,

that no one has been so prosecuted and that federal courts do

not apply the exclusionary rule for PCA violations.      United

States v. Eleuterio, Case No. 3:21-cr-0001, 2024 WL 1620383, *1,

at *3 (D.V.I. April 15, 2024) (“In particular, federal courts

have overwhelmingly refused to impose the extraordinary remedy

of the exclusionary rule for a violation of the PCA.”).

       Under Hawaiʻi law, however, evidence obtained in violation

of the PCA and “then proferred in criminal proceedings against

[a defendant] must be suppressed under the authority of this

court’s supervisory powers in the administration of criminal

justice in the courts of our state.”      Pattioay, 78 Hawaiʻi at

469, 896 P.2d at 925.    Thus, evidence not shown to have been of

such a manner consistent with a military function or purpose

under the PCA is not admissible.      78 Hawaiʻi at 470, 896 P.2d at

926.

       Also relevant is Brune v. Administrative Director of

Courts, 110 Hawaiʻi 172, 130 P.3d 1037 (2006), in which a Navy

lieutenant petitioned for judicial review of the administrative




                                 25
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



revocation of his driver’s license, after his arrest on a Naval

reservation by a Navy civilian police officer.         We stated:

          In Pattioay, it was stated that “[w]here the target of a
          military investigation is a civilian and there is no
          verified connection to military personnel, the PCA
          prohibits military participation in activities designed to
          execute civilian laws.” 78 Hawaiʻi at 464, 896 P.2d at 920          (emphasis added). In that case, the prosecution argued that
          State v. Hayes, 102 N.C.App. 777, 404 S.E.2d 12 (1991),
          should control. Pattioay, 78 Hawaiʻi at 463–64, 896 P.2d at
          919–20. In Hayes, the North Carolina Court of Appeals held
          that the PCA was not violated when military investigators
          assisted local law enforcement officers in arresting an
          absent-without-official-leave soldier. 404 S.E.2d at 14–15.
          This court, in Pattioay, found Hayes to be clearly
          distinguishable because the defendant was a member of the
          military. Pattioay, 78 Hawaiʻi at 464, 896 P.2d at 911.

          Thus the restrictions of the PCA do not appear to apply in
          the instant case as Appellant is a member of the military
          and was arrested on the Pearl Harbor Naval reservation. See
          United States v. Thompson, 33 M.J. 218, 220–21 (C.M.A.1991)
          (concluding that the PCA was not violated when military
          agents accompanied local law enforcement agents to the off-
          base home of a senior airman with the U.S. Air Force to
          search the apartment and seize stolen property); cf. United
          States v. Griley, 814 F.2d 967, 976 (4th Cir.1987) (stating
          that “[i]t is well settled that military investigators may
          look into violations of civil law that occur on military
          bases, or within military operations” and holding that the
          PCA was not violated when a civilian defendant’s home
          located on a military base was searched by a Federal Bureau
          of Investigation special agent and a military investigator
          for stolen property when it was not known whether the thief
          was a military employee or a civilian (internal citations
          omitted)). We thus agree with the reasoning of the North
          Carolina Court of Appeals in this respect.


Brune, 110 Hawaiʻi at 179, 130 P.3d at 1044 (emphases added).

     Thus, it appears that while the PCA allows military

personnel to investigate violations of civil law occurring on

military bases, where the target of a military investigation is

a civilian and there is no verified connection to military

personnel or military operations or purposes, the PCA prohibits

                                   26
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



and restricts military participation in activities designed to

execute civilian laws. 13

        The dissent cites to a Court of Appeals of Alaska opinion

that held there was no PCA violation when a military police

officer arrested a civilian exhibiting symptoms of intoxication

at a routine identification check at a military gate.

Municipality of Anchorage v. King, 754 P.2d 283 (Alaska Ct. App.

1988).      That case is distinguishable, however, as the defendant

was already at the gate of a military base and had been stopped

for a routine military identification check.             754 P.2d at 284.

The dissent’s reliance on United States v. Bennett, No. 8:11-CR-

00014-T-33AEP, 2011 WL 1690122, *1 (M.D. Fla. Apr. 19, 2011), is


13    Military police training information available online contains the
following:

              Military law enforcement authorities have no general
              authority to apprehend a civilian off post, in the absence
              of an applicable state law. AR 190-30, paragraph 4-2a,
              states: "in Conus, incidents occurring off post normally
              are investigated by civil law enforcement agencies." As we
              shall see later, the military may, however, investigate a
              crime off post so long as there is a "direct" military
              interest in it (CIDR 195-1, paragraph 2-2c). In other
              words, the investigation must "satisfy ARMY investigative
              needs in a criminal matter of ARMY interest." Such actions
              are not in violation Posse Comitatus Act (AR 195-2,
              Paragraph 3-1b). The authority to investigate does not
              confer a general authority to apprehend civilians off-post.

See Determine Investigative Responsibility/Jurisdiction
https://rdl.train.army.mil/catalog-ws/view/100.ATSC/D7D82012-83C4-4788-9279-
807097158E5B-1308937282846/mp1018/lsn1.htm [https://perma.cc/GAJ8-ZNSL]

      It appears the district court had concerns regarding potential
violations of the PCA, as it sua sponte excluded any evidence regarding the
MPs’ actions or statements.


                                       27
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



also misplaced, as it involved the detention of an intoxicated

person who had also already entered the gate area of a military

base.

        The Ninth Circuit has held that there is no PCA violation

where there is an independent military purpose.             See, e.g.,

United States v. Chon, 210 F.3d 990, 994 (9th Cir. 2000). 14

Here, the accident did not take place on a military base and

there is no indication in the record that Yuen is a member of

the military. 15     The record does not reflect how many lanes led

to the HAFB O’Malley Gate and whether the vehicles were blocking

traffic or posed a risk to others.           Because no motion to

suppress was filed and the MPs did not testify, no military

purpose was argued and no counter-arguments to any such



14      Chon involved recovery of military equipment, and it says:

              Other courts have relied on the military purpose exception
              to sanction military assistance in law enforcement
              activities where the illegal acts were perpetrated by
              military personnel or where civilians committed illegal
              acts on military bases. See e.g. Applewhite v. United
              States Air Force, 995 F.2d 997, 1001 (10th Cir. 1993)
              (holding that the military may investigate illegal drug
              transactions by active duty military personnel); United
              States v. Banks, 539 F.2d 14, 16 (9th Cir. 1976) (allowing
              military personnel to act upon on-base violations of civil
              law committed by civilians); United States v. Thompson, 30              M.J. 570, 574 (1990) (allowing military jurisdiction over a
              military member who stole both civilian and military
              property).

Chon, 210 F.3d at 994.

15    Arising out of this MVC, Yuen was also cited for Delinquent Vehicle Tax
in 1DTI-18-181085. His ticket indicates “No” for “Military Service.”


                                       28
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



arguments could have been made or considered. 16          The record also

does not reflect how much time lapsed between the MVC and the

arrival of HPD officers.

        The dissent also cites to a Department of Defense (DOD)

policy, DOD Instruction no. 3025.21, to justify the MPs’

actions.      Hawaiʻi state courts are bound by United States Supreme

Court interpretations of federal law but are not bound by DOD

interpretations of the PCA.        See James v. City of Boise, 577

U.S. 306, 307 (2016) (per curiam); State Bank of Cherry v. CGB

Enters., 984 N.E.2d 449, 458 (Ill. 2013).          Moreover, this policy

is titled “Defense Support of Civilian Law Enforcement

Agencies.” Section (4)(a) defining the general policy says the

“DoD shall be prepared to support civilian law enforcement

agencies consistent with the needs of military preparedness of

the United States, while recognizing and conforming to the legal

limitations on direct DoD involvement in civilian law

enforcement activities.”       While this policy provides that DoD

“[a]ctions taken for the primary purpose of furthering a DoD . .

. function of the United States, regardless of incidental

benefits to civil authorities” are permissible, it also makes


16    The dissent would determine on appeal that an independent military
purpose exists under the facts of this case, even though the issue was never
addressed by the trial court below based on the lack of a motion to suppress.
If the State argues an independent military purpose on remand, Yuen would
have an opportunity to present opposing arguments.


                                     29
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



clear that “[t]his does not include actions taken for the

primary purpose of aiding civilian law enforcement officials or

otherwise serving as a subterfuge to avoid the restrictions of

the Posse Comitatus Act.”    Instruction 3025.21 (2013),

https://www.hsdl.org/c/view?docid=732255 [https://perma.cc/SW8X-

426U] (emphasis added).

     Here, the record does not contain any general request from

HPD that MPs investigate possible state traffic law violations

outside military bases or any suggestion that HPD specifically

requested that MPs investigate, test, and apprehend Yuen.       The

MPs’ initial approach and investigation of the scene to see who

was involved, check injuries, and ensure there was no one

involved intending harm to HAFB would arguably be considered an

independent military purpose, as suggested by the dissent.

However, the MPs’ subsequent actions of initiating a PAS and

SFST, then detaining Yuen as a result, was a step too far and

constituted an “intrusion into civilian matters” as proscribed

by the PCA.    The proper response would have been to call local

authorities and let them handle it from there as there was no

evidence Yuen, or anyone else involved, posed a danger to the

base, was attempting to enter the base, or flee the scene after

the crash.    The record also does not support that there were




                                 30
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



other exigent circumstances requiring further MP involvement

before the arrival of HPD.

     The dissent posits that Pattioay is factually

distinguishable.   Pattioay, however, clearly requires exclusion

of evidence brought forth by military officers in violation of

the PCA offered in a civilian criminal investigation.      78 Hawaiʻi

at 470, 896 P.2d at 926.   Even if the district court struck most

of the HPD officer testimony regarding statements MPs made at

the scene, the “fruit of the poisonous tree” doctrine would

prohibit the use of evidence at trial which comes to light as a

result of the exploitation of a previous illegal act of law

enforcement.

     At bottom, ineffective assistance only requires possible

impairment of a potentially meritorious defense.      Based on this

record, trial counsel was ineffective in not filing a motion to

suppress, which could have resulted in all subsequent evidence

being suppressed as fruit of the poisonous tree.      There was a

possible impairment of a potentially meritorious defense.

B.   Where ineffective assistance is clear from the existing
     record, it is inappropriate to defer a ruling to a Rule 40
     petition; also, appellate courts should order service of
     ineffective assistance claims on trial counsel where
     appellate counsel has failed to do so

     As noted, despite deeming the existing record insufficient

to establish ineffective assistance, the ICA indicated Yuen had


                                 31
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



a colorable claim based on trial counsel’s failure to file a

motion to suppress and that a factual record could be developed

at a Rule 40 hearing.       Thus, the ICA affirmed Yuen’s conviction

without prejudice him filing a Rule 40 petition.

        As explained, we disagree with the ICA that the existing

record was insufficient to establish ineffective assistance.

The ICA also noted, however, that it found the record

insufficiently developed due to appellate counsel’s initial

failure to serve trial counsel with the ineffective assistance

claim asserted on appeal, as required by HRAP Rule 28(a).               To

provide trial counsel an opportunity to respond, along with

acceptance of certiorari, we required Yuen’s appellate counsel

to serve trial counsel as required by HRAP Rule 28(a).             We

provided trial counsel with thirty days to respond; no response

was filed.

         Not addressing ineffective assistance claims on the basis

of lack of service on trial counsel, however, can prejudice a

defendant. 17     Further, HRPP Rule 40(a) expressly provides that it




17    It takes significant time after affirmance of a conviction on final
appeal for a HRPP Rule 40 petition to be filed and resolved. In addition,
allowing a Rule 40 petition instead of addressing an issue on direct appeal
can also be detrimental to a defendant because defendants are not
automatically entitled to counsel when they bring Rule 40 petitions. Only if
a court finds a “colorable claim” will counsel be appointed. In contrast,
our case law recognizes a criminal defendant’s right to counsel on appeal and
on certiorari. See State v. Uchima, 147 Hawaiʻi 64, 464 P.3d 852 (2020).


                                     32
     ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



“shall not be construed to limit the availability of remedies .

. . on direct appeal.”

        Based on our supervisory powers under HRS § 602-4 (2016), 18

we therefore hold that if new appellate counsel on direct appeal

fails to serve an ineffective assistance claim on trial counsel,

the appellate court must order counsel to do so and provide

trial counsel with a reasonable opportunity to respond.             The

appellate court is to address the ineffective assistance claim

based on the record after that opportunity has been provided

instead of denying an ineffective assistance claim without

prejudice to a HRPP Rule 40 petition. 19

C.      Substantial evidence

        Finally, we must also address the second issue on

certiorari alleging insufficient evidence.          See Davis, 133

Hawaiʻi at 118, 324 P.3d at 928.          “On appeal, the test for a

claim of insufficient evidence is whether, viewing the evidence

in the light most favorable to the State, there is substantial

evidence to support the conclusion of the trier of fact.”             State

v. Matias, 74 Haw. 197, 207, 840 P.3d 374, 379 (1992) (cleaned



18    § 602-4 Superintendence of inferior courts. The supreme court shall
have the general superintendence of all courts of inferior jurisdiction to
prevent and correct errors and abuses therein where no other remedy is
expressly provided by law.

19    The Standing Committee to Review the Hawaiʻi Rules of Appellate
Procedure may wish to consider an appropriate amendment to HRAP Rule 28(a).

                                     33
 ** FOR PUBLICATION IN WEST’S HAWAIʻI REPORTS AND PACIFIC REPORTER **



up).    “It matters not if a conviction under the evidence as so

considered might be deemed to be against the weight of the

evidence so long as there is substantial evidence tending to

support the requisite findings for the conviction.”      Id.

(cleaned up).    “Substantial evidence is credible evidence which

is of sufficient quality and probative value to enable a

[person] of reasonable caution to reach a conclusion.”       Id.

(cleaned up).

       We agree with the ICA’s analysis of this issue.     The ICA

did not err in concluding that the testimony of Officers Peter

and Laganse constituted sufficient circumstantial evidence to

support a finding that Yuen operated Unit 1.

                           V.   Conclusion

       For the foregoing reasons, we vacate the ICA’s October 18,

2023 judgment on appeal, only as to its affirmance of Yuen’s

OVUII conviction and sentence, as well as the Honolulu Division

of the District Court of the First Circuit’s December 11, 2019

Notice of Entry of Judgment and/or Order and Plea/Judgment, only

as to Yuen’s OVUII conviction and sentence.     Judgment is to

enter accordingly.

Alen M.K. Kaneshiro                   /s/ Sabrina S. McKenna
for petitioner
                                      /s/ Todd W. Eddins
Brian R. Vincent
for respondent                        /s/ Vladimir P. Devens


                                 34
